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                                     SENTINEL REINSURANCE, LTD.
                                           (the "Company")
      UNANIMOUS WRITTEN RESOLUTIONS OF THE BOARD OF DIRECTORS OF THE COMPANY

1        Approval of Dividend Payment

1.1      It is noted that on 23 April 2020, Beecher Carlson Cayman, Ltd., which acts as the insurance
         manager of the Company (the "Manager"), had notified Cayman Islands Monetary Authority ("the
         Authority") of the Company's intention to declare a dividend in an aggregate amount of
         US$6,400,000 (the "Dividend"), in accordance with its dividend policy approved by CIMA on 21
         March 2016.

1.2      It is further noted that:

         (a)     the latest management accounts of the Company had been reviewed by the directors of
                 the Company (the "Directors");

         (b)     in order for the Company to be able to pay the Dividend it must be able to pay its debts as
                 they fall due in its ordinary course of business immediately following the payment of the
                 Dividend and there must be sufficient profits, retained earnings or share premium; and

         (c)     the Directors had considered whether there were any agreements or other arrangements
                 binding on the Company which may restrict the Company's ability to pay the Dividend and
                 it is noted that the Directors had determined that the Company is not so restricted.

1.3      Accordingly, IT IS RESOLVED THAT:

         (a)     the Dividend, which complies with the Company's dividend policy, be approved, confirmed
                 and ratified;

         (b)     the Directors be authorised to perform on behalf of the Company any and all such acts as
                 they may deem necessary or advisable in order to comply with applicable laws and in
                 connection therewith to execute and file all requisite papers and documents including but
                 not limited to applications, reports, security bonds, irrevocable consents and appointments
                 of attorneys for service of process, and the execution by a Director of any such paper or
                 document or the doing by him of any act in connection with the foregoing matters shall
                 conclusively establish his authority therefor from the Company and the approval and
                 ratification by the Company of the papers and documents so exec uted and actions so
                 taken; and

         (c)     all prior actions taken by any Director, officer, and agent for and on behalf of the Company
                 in connection with the foregoing resolutions, including but not limited to, the signing of any
                 agreements, resolutions, deeds, letters, notices, certificates, acknowledgements, receipts,
                 authorisations, instructions, releases, waivers, proxies and other documents (whether of a
                 like nature or not) and the payment of all and any related fees and expenses be confirmed,
                 ratified and approved in all respects.

                                               [signature page follows]
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Written board resolutions of Sentinel Reinsurance, Ltd.


Signed by all the Directors:




______________________________
Damien Austin
Director
         24 April 2020
Dated: ________________________




______________________________
Jan Neveril
Director
         24 April 2020
Dated: ________________________




______________________________
Matthew DiOrio
Director
         April 24, 2020
Dated: ________________________
